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                            UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                    MDL No. 2741
LIABILITY LITIGATION
                                           Case No. 16-md-02741-VC
This document relates to:
Eilmes Jr. v. Monsanto Co.,                PRETRIAL ORDER NO. 319: ORDER
                                           GRANTING IN PART AND DENYING
Case No. 3:19-cv-05345-VC                  IN PART MONSANTO’S MOTION TO
                                           EXCLUDE EXPERT ARONSON
Gannon v. Monsanto Co.,
Case No. 3:19-cv-08064-VC                  Re: Dkt. Nos. 18988, 18995

Gordon v. Monsanto Co.,
Case No. 3:19-cv-06423-VC

Haase v. Monsanto Co.,
Case No. 3:19-cv-05957-VC

Hayden v. Monsanto Co.,
Case No. 3:19-cv-05600-VC

Huntley v. Monsanto Co.,
Case No. 3:19-cv-06407-VC

Pinheiro v. Monsanto Co.,
Case No. 3:20-cv-08173-VC

Pinheiro v. Monsanto Co.,
Case No. 3:21-cv-00041-VC

Aldoupolis v. Monsanto Co.,
Case No. 3:20-cv-03433-VC

Drons v. Monsanto Co.,
Case No. 3:20-cv-08167-VC

Fox v. Monsanto Co.,
Case No. 3:20-cv-08847-VC
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   McDermott v. Monsanto Co.,
   Case No. 3:20-cv-07219-VC

   Penalver v. Monsanto Co.,
   Case No. 3:20-cv-08801-VC

   Rubin v. Monsanto Co.,
   Case No. 3:20-cv-05870-VC

   Skonicki v. Monsanto Co.,
   Case No. 3:20-cv-08053-VC

   Sullivan v. Monsanto Co.,
   Case No. 3:22-cv-00092-VC

   Tudal v. Monsanto Co.,
   Case No. 3:20-cv-05871-VC



       Monsanto’s motion to exclude the testimony of Dr. Kristan Aronson is granted in part

and denied in part. This ruling assumes the reader’s familiarity with the facts, the applicable

legal standard, the prior Daubert rulings in this MDL, and the arguments made by the parties. See

generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018)

(Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp.

3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto

Company, 997 F.3d 941 (9th Cir. 2021).
       1. Monsanto’s motion against Aronson bears many similarities to its motion against Dr.

M. Smith, which the Court ruled on in Pretrial Order No. 313. See Dkt. No. 20337. Both motions

seek the exclusion of general causation experts for the way they addressed (or didn’t address) the

limitations of studies on which they based their opinions. And both motions suffer from the same

flaw: Monsanto did a poor job developing the record.
       Monsanto first targets Aronson’s alleged failure to consider the need to adjust study
results for exposure to other pesticides, focusing on Eriksson (2008) and Hohenadel (2012). As
the Court explained in Pretrial Order 45, “failing to take account of likely confounders by
presenting and relying upon only unadjusted (or minimally adjusted) estimates is a serious



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methodological concern.” In re Roundup Prods. Liab. Litig., 390 F. Supp. 3d 1102, 1140 (N.D.
Cal. 2018). Aronson’s report gave a highly suspect explanation for how the confounding effect
of other pesticides could be excluded, essentially saying that some studies showed no evidence
of confounding, and many studies still reported elevated odds ratios after adjusting, even though
some of them were not statistically significant. See Aronson Report (Hayden, et al.) (Dkt. No.
18988-2) at 27. Monsanto could have questioned Aronson on this point, eliciting testimony that
described what weight she put on unadjusted studies, which may have resulted in her exclusion.
       But the record Monsanto has developed doesn’t show that Aronson presented and relied
upon only unadjusted estimates—it only shows that she reviewed both adjusted and unadjusted
estimates, which is not alone grounds for exclusion. For example, Monsanto points out that
Aronson admitted at deposition that the McDuffie (2001) data was not adjusted, a point she made
in her report, as well. See Aronson Dep. (Buttry) (Dkt. No. 18987-8) at 213:24–214:2; see also
Aronson Report at 27. It chose not to present any evidence regarding Aronson’s response to
questioning about how she determined there was no evidence of confounding in McDuffie or
how she took considered the study in light of Hohenadel. And for at least some of the studies she
examined, she described the weaknesses of unadjusted estimates. For example, Aronson’s report
noted that the adjusted Eriksson result was not statistically significant—i.e., the 95% confidence
interval for the odds ratio was 0.77 to 2.94. See Aronson at 54. Aronson surely could have spent
more time explaining the relevance of that lack of statistical significance, but it’s not clear from
her report that she “disregards statistical significance” entirely, like Monsanto argues. Reply at
3–4. As noted in Pretrial Order No. 313, a deposition is Monsanto’s opportunity to develop its
record. If Monsanto had testimony showing Aronson relied too heavily on unadjusted or not
statistically significant data, it should have presented it. Monsanto didn’t, so its motion is denied.
To the extent Aronson’s opinion has weaknesses that Monsanto failed to highlight in its motion,
it can highlight those weaknesses during cross-examination at trial.
       2. Monsanto also makes weak arguments about Aronson’s use of Meloni (2021) and
Zhang (2019). Regarding Meloni, Monsanto argues Aronson misused it because she didn’t
account for its reliance on unadjusted data, and she selectively cited a portion of the study that



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supported her opinion while ignoring the parts of it that didn’t. Regarding Zhang, Monsanto
repeats familiar arguments about how the Court has found it to be junk science. But the Court
has said before that mere reliance on Zhang does not mean the automatic exclusion of an expert,
and the same can be said for Meloni. See Dkt. No. 19061 at 2. The record Monsanto has
presented does not show Aronson relied too heavily on either study.
       3. Monsanto makes one additional point from its Omnibus Motion (Dkt. No. 18987)
relating to “multiple statistical tests.” Reply (Dkt. No. 19559) at 3–4. The Court ruled on this
issue in Pretrial Order No. 45, and it will not reconsider them. See Dkt. No. 19225.
       4. Aronson will not be precluded from testifying about Dr. Tomasetti’s work. If her

testimony is factually inaccurate, that’s obviously something Monsanto should highlight during

cross examination.

       5. The plaintiffs say in their Opposition that Aronson will not offer testimony about

“Monsanto’s intent, motive or state of mind;” “comparing Monsanto to the tobacco, lead or

asbestos industries;” or “PCBs.” Opp. (Dkt. No. 19415) at 9–10. But the plaintiffs argue Aronson

should be allowed to compare Roundup to tobacco generally, which they say is different from

the tobacco industry. The Court excluded similar testimony in a motion in limine prior to the

Hardeman trial on the basis of Rules 401 and 403. See In re Roundup Products Liability

Litgation, 2019 WL 1371806, at *1 (N.D. Cal. Feb. 18, 2019). This Court is of the view that,

even on the plaintiffs’ highly aggressive view of the scientific evidence, there is not even a

remote similarity between Roundup and tobacco, and so any invocation of tobacco would be

virtually irrelevant and highly prejudicial. But this is a question for the transferor court to decide.

       IT IS SO ORDERED.

Dated: March 25, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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